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8
9                                UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN FRANCISCO DIVISION
12
     UNITED STATES OF AMERICA,                 )       Criminal No. CR-06-144-JSW
13                                             )
           Plaintiff,                          )
14                                             )       STIPULATION FOR HANDWRITING
           v.                                  )       EXEMPLAR FROM DEFENDANT
15                                             )       RAWLIN CUNDANGAN REYES AND
   RENATO MENDOZA MEDINA,                      )       [PROPOSED] ORDER
16   a/k/a Rene Mendoza Medina,                )
   PHYLLIS REYES CUISON,                       )
17   a/k/a Phyllis Cundangan Reyes, and        )
   RAWLIN CUNDANGAN REYES,                     )       SAN FRANCISCO VENUE
18                                             )
         Defendants.                           )
19                                             )
20      IT IS HEREBY AGREED AND STIPULATED, by and between the United States of
21 America, and Defendant Rawlin Cundangan Reyes, as reflected by the signatures of their
22 respective counsel as set forth below, that Defendant Rawlin Cundangan Reyes give handwriting
23 and handprinting exemplars to an agent of the Internal Revenue Service.
24
25 DATED:          May 9, 2006                 /s/ Cynthia Stier
                                               CYNTHIA STIER
26                                             Assistant United States Attorney
27
     DATED:        May 9, 2006                 /s/ Lidia Stiglich
28                                             LIDIA STIGLICH
                                               Counsel for Rawlin Cundangan Reyes
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1
                                                 ORDER
2
        For the foregoing reasons, the Court HEREBY ORDERS that the Defendant, Rawlin
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     Cundangan Reyes, is ordered to give handwriting and handprinting exemplars to an agent of the
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     Internal Revenue Service. The exemplars shall be provided on May 22, 2006, commencing at
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     10:00 a.m., at the Office of the United States Attorney, 450 Golden Gate Avenue, 10th Floor, San
6
     Francisco, California.
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     IT IS SO ORDERED
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9
     DATED: May 11, 2006                                 ____________________________
10                                                       JEFFREY S. WHITE
                                                         United States District Judge
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     Stipulation for Handwriting Exemplar,
     CR06-144-JSW
